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Attorneys for Plaintiffs and Relators Denika Terry and Roy Huskey III

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION

UNITED STATES OF AMERICA, ex Case No.: 2:15-CV-00799-KJM-DB
rel. DENIKA TERRY and ROY
HUSKEY III, and each of them for DECLARATION OF DAVID LAVINE
themselves individually, and for all IN OPPOSITION TO DEFENDANTS’
other persons similarly situated and L.R. 251 MOTION FOR ADDITIONAL
on behalf of the UNITED STATES DEPOSITIONS
OF AMERICA,

Piaintiffs/Relators,

vs.

WASATCH ADVANTAGE GROUP,
LLC, WASATCH PROPERTY
MANAGEMENT, INC., WASATCH
POOL HOLDINGS, LLC,
CHESAPEAKE COMMONS
HOLDINGS, LLC, LOGAN PARK
APARTMENTS, LLC, LOGAN
PARK APARTMENTS, LP, and
DOES 1-30,

Defendants.

U.S., ex rei. Terry, et al. v. Wasatch Advantage Group, et al.
Declaration of David Lavine In Opposition To Motion for Additional Depositions by Defendants

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1. I am attorney of record for plaintiffs in the above-referenced matter. [ have
personal knowledge of the facts set forth in this declaration, and, if called upon, could and would
testify thereto. ©

2. After reviewing the affidavit submitted by opposing counsel earlier today in
support of defendants’ motion for leave to take additional depositions, J am convinced that
defendants misguided the Court. As noted below, I invited opposing counsel to correct his
affidavit, but opposing counsel refused.

3. Defendants’ motion was precipitated by opposing counsel’s scheduling of 18
depositions, primarily 16 third-party depositions, despite the limitation imposed by Fed.R.Civ.P.
30(a)(2)(A)(@), requiring leave of court absent agreement between the parties for any side to take
more than ten depositions in a case. Opposing counsel did not seek leave of court until I raised
the rule limitation.

4, I cooperated fully with the preparation of a joint statement, including spending
hours on a contentious negotiation of its content. Two challenges in particular held up the joint
statement:

a. Opposing counsel drafted a common statement of facts clearly slanted toward
its position. For my part, I insisted on a short, non-controversial common statement of facts that
both sides could agree to, with any other facts to be relegated to the position sections. Indeed, I
drafted plaintiffs’ position with facts to support plaintiffs’ side of the issue, and did not attempt
to force those facts into the common factual section. To the contrary, opposing counsel insisted
on including its slanted version of the facts in the common section, with the implication that
plaintiffs endorsed it. After days of going back and forth, opposing counsel finally relented and
moved its version of the facts to its position section.

b. With nearly all of the joint statement content then agreed to, opposing counsel
insisted on a sentence about counsels’ negotiation of the proper number of depositions to be
accorded to defendants that, in my view, omitted critical detail and lacked context. I suggested
that the sentence be shortened to note that plaintiffs were requesting additional conditions if they
were to agree to 12 depositions as a compromise. Opposing counsel refused, and further refused

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to include other context concerning defendants’ delayed document production and the need to
make the parties’ upcoming dispute resolution session productive. So this disputed sentence
remained unresolved. Opposing counsel discussed filing an affidavit by way of explanation of
our impasse, and I agreed. I provided the following response to our impasse to be included:
"Defendants booked out precious days at the end of the class discovery period for 18 depositions
they had not even sought leave beyond ten to take. Plaintiffs attempted to negotiate a
compromise, wherein defendants would be able to take several depositions beyond ten, even
though plaintiffs see them as entirely cumulative, and not supportive of a viable defense to
plaintiffs' claims. Plaintiffs’ attempt to compromise failed."

5. I was surprised to see that, rather than including the 99% of agreed-upon content
in his submission, opposing counsel submitted an affidavit covering only his position - and
nothing of plaintiffs’ position on why 18 depositions was clearly excessive. Further, with respect
to the relatively-minimal disputed content, opposing counsel did not include plaintiffs’ specially-
provided response, or any semblance of it. Following review of the affidavit, I invited correction
by opposing counsel, but he refused.

6. Opposing counsel was clearly not permitted to submit his one-sided affidavit
without including the 99% of the joint statement agreed to, or my response to the disputed
sentence. Local Rule 251(d) directly requires inclusion of opposing counsel’s response:

If counsel for the moving party is unable, after a good faith effort, to secure the

cooperation of counsel for the opposing party in arranging the required conference, or

in preparing and executing the required joint statement, counsel for the moving party
may file and serve an affidavit so stating, setting forth the nature and extent of counsel's
efforts to arrange the required conference or procure the required joint statement, the
opposing counsel's responses or refusals to respond to those efforts, the issues to be
determined at the hearing, and the moving party's contentions with regard to the

issues, including any briefing in respect thereto. (emphasis added).

7. Opposing counsels’ affidavit decidedly leaves the misimpression that I did not
cooperate with the preparation of the joint statement. Nowhere is it apparent within the affidavit
that nearly all of the drafted joint statement - all apart from one sentence - was then agreed to.

As such, the affidavit does a disservice to plaintiffs’ contributions to the joint statement, which

are entirely omitted, and leaves the Court without plaintiffs’ argument or supporting authority

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Declaration of David Lavine In Opposition To Motion for Additional Depositions by Defendants -3-

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that, based on the seven redundant third-party depositions of the public housing authorities
already taken, the depositions of many additional public housing authorities beyond the ten
deposition limit set by tule would be cumulative many times over, burdensome in that they take
place all around the western states, and financially wasteful. ,

8. The fair play embedded into the Local Rule 251 abbreviated motion process
should have led to a different approach. Opposing counsel could have filed the agreed-upon joint
statement, minus the disputed sentence, and taken up the relatively-minimal dispute within the
confines of the joint statement, or separately in a short supporting affidavit explaining the
impasse over the disputed sentence. Opposing counsel could have also incorporated the 99% of
agreed-upon content from the joint statement in his affidavit. Instead, he chose to jettison the
work product resulting from our joint labors, and to leave plaintiffs without any position, and any
voice, in his filing. Such an approach is not compliant with Local Rule 251(d), requiring that
opposing counsel’s responses be included, and smacks of bad faith. Moreover, it makes the
Court’s task of weighing the arguments presented by both sides difficult when only one side’s
was presented.

9. The issue presented of whether defendants should be able to take more than ten
depositions, though hotly contested, is relatively straightforward and discrete. It is unproductive
that opposing counsel has chosen to divert the Court’s attention away from the parties’ joint
briefing to focus on a residual disagreement over one contested sentence and the contentiousness
surrounding it. Hopefully, the Court can re-focus arguments on the merits of the issue at hearing.

I declare under penalty of perjury that the foregoing is true and correct, this 4th day of
August, 2017, in Oakland, California.

/s/ David Lavine

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